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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

In re:
                                                             Chapter 7
JEVIC HOLDING CORP., et al.,
                                                             Case No. 08-11006 (BLS)
                      Debtors.                               (Jointly Administered)


THE CIT GROUP/BUSINESS CREDIT, INC., as agent
for itself and the Lender Group,

                       Plaintiff,
              v.
                                                             Adv. Pro. No. 19-50256 (BLS)
JEVIC HOLDING CORP., JEVIC TRANSPORTATION,
INC.; CREEK ROAD PROPERTIES, LLC; GEORGE L.
MILLER, solely in his capacity as Chapter 7 Trustee of the
                                                             Re: Adv. Docket Nos. 19, 20,
bankruptcy estates of Jevic Holding Corp., et al.; THE
                                                             22, 23, and 28
GOODYEAR TIRE & RUBBER CO.; ACTION
CALENDAR & SPECIALTY CO., INC.; IRVING OIL
CORPORATION; HARTFORD FIRE INSURANCE
COMPANY; PACHULSKI STANG ZIEHL & JONES
LLP; MORRIS ANDERSON & ASSOCIATES; and
KLEHR, HARRISION, HARVEY, BRANZBURG &
ELLERS LLP,
                        Defendants.

 ANSWERING BRIEF OF PLAINTIFF THE CIT GROUP/BUSINESS CREDIT, INC.
         IN OPPOSITION TO DEFENDANT PACHULSKI STANG
               ZIEHL & JONES’ MOTION TO DISMISS

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       The CIT Group/Business Credit, Inc. (“Plaintiff” or “CIT”), as agent for itself and BMO

Harris Bank N.A., Bank of America, N.A., PNC Bank, National Association, and Wells Fargo

Capital Finance (together with CIT in its capacity as lender, the “Lender Group”), by and through

its attorneys, Reed Smith LLP, submits this Answering Brief in Opposition to the Motion of

Pachulski Stang Ziehl & Jones (“Defendant”) to Dismiss Complaint for Failure to State a Claim

Pursuant to F.R.C.P. 12(b)(6) (the “Motion to Dismiss”) [Adv. Docket No. 19] and Memorandum

of Points and Authorities in Support of its Motion to Dismiss Complaint for Failure to State a

Claim Pursuant to F.R.C.P. 12(b)(6) (“Def. Mem.”) [Adv. Docket No. 20], and respectfully states

as follows:

                   INTRODUCTION AND SUMMARY OF ARGUMENT

       1.      Defendant asks this Court to dismiss CIT’s Complaint for (I) Declaratory Relief

and (II) Restitution of Certain Funds Distributed Under Vacated Approval Order (the

“Complaint”) [Adv. Docket No. 1], arguing that CIT has failed to state a claim upon which relief

may be granted because, as a matter of law, CIT is not entitled to (i) restitution under Count II

because Defendant is a bona fide payee because, notwithstanding vacatur of the Approval Order

(as defined below), the funds of CIT and the Lender Group that funded the Administrative Claim

Fund (as defined below) are property of the Debtors’ estates, (ii) declaratory relief under Count I

because CIT solely, or simply, seeks declaratory judgment regarding past conduct and to declare

Defendant liable to CIT, and (iii) any relief because both Counts I and II are “repackaged” claims

under section 549 of the Bankruptcy Code, which are time barred, and, in any event, CIT lacks

standing to pursue such avoidance claims. Each argument fails for the reasons set forth below.

       2.      First, absent the Approval Order, the Debtors had no right to the settlement funds

that were the sole source of the Administrative Claim Fund. The Administrative Claim Fund,




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which was funded entirely from funds provided by CIT, was held by CIT (and the rest of the

Lender Group) prior to execution of the Settlement Agreement and entry of the Approval Order.

In fact, the Administrative Claim Fund was not paid to the Debtors until approximately nine (9)

months after entry of the Approval Order and approximately thirteen (13) months after execution

of the Settlement Agreement. As a matter of law, upon vacatur of the Approval Order, CIT (for

itself and the Lender Group) is entitled to be put back in the economic position it was in prior to

execution of the Settlement Agreement (as defined below) and the entry of the Approval Order.

       3.      Moreover, CIT is entitled to restitution from Defendant because Defendant was a

party in interest that negotiated for, and received, express provisions in the Approval Order and

Exhibit 4 to the Settlement Agreement for the payment of Defendant’s fees and expenses from the

Administrative Claim Fund. As the United States Court of Appeals for the Third Circuit has

recognized, payments to a readily identifiable set of payees can be disgorged upon vacatur of the

order authorizing such payments.

       4.      Second, CIT does not seek declaratory relief “simply” or “solely” to adjudicate past

conduct or to declare Defendant liable to CIT. Defendant has (a) argued that the chapter 7 trustee

alone has exclusive standing to seek to recover the funds disbursed from the Administrative Claim

Fund and (b) asserted a right to share in any recoveries from the Administrative Claim Fund.

Accordingly, CIT seeks declaratory relief, including with respect to its right to recover the

Administrative Claim Fund and the superiority of its right to restitution of the Administrative

Claim Fund.

       5.      Third, there is no basis for Defendant’s assertion that the Complaint constitutes a

disguised claim under section 549 of the Bankruptcy Code. Claims under section 549 of the

Bankruptcy Code only concern transfers of property of the estate. Here, CIT seeks restitution of




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the Lender Group’s own funds, not property of the estates. Upon vacatur of the Approval Order,

the estates had (and have) absolutely no interest in Lender Group’s funds.

                         NATURE AND STAGE OF THE PROCEEDINGS

        6.      On June 3, 2019, CIT filed the Complaint for (I) Declaratory Relief and

(II) Restitution of Certain Funds Distributed Under Vacated Approval Order (the “Complaint”)

[Adv. Docket No. 1].

        7.      Contemporaneously with the Complaint, CIT filed Plaintiff’s Motion to Extend

Time for Service of Complaint (the “Motion to Extend”) [Adv. Docket No. 3] in the desire to avoid

litigation.   Neither the Defendant nor any other defendant opposed the Motion to Extend.

Accordingly, on June 24, 2019, the Court entered an Order granting the Motion to Extend. [Adv.

Docket No. 6]. CIT, however, did serve a courtesy copy of the Complaint upon the defendants at

the time it was filed.

        8.      In the Complaint, CIT asserts two counts against Defendant: Count I seeks

declaratory judgment, and Count II seeks restitution.

        9.      On January 23, 2020, after failed negotiations with the chapter 7 trustee, CIT

formally served upon each defendant a summons and a copy of the Complaint. [Adv. Docket No.

8].

        10.     On April 24, 2020, Defendant filed the Motion Dismiss [Adv. Docket No. 19].

                                   FACTUAL BACKGROUND1

        11.     On May 20, 2008 (the “Petition Date”), the Debtors commenced their respective

bankruptcy cases by filing voluntary petitions for relief under title 11 of the United States Code

(the “Bankruptcy Code”).


1
  Any capitalized terms that are not otherwise defined herein shall have the meaning ascribed to them in
the Complaint.


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A.      The Committee’s Adversary Proceeding Against CIT and Sun.

        12.     Pursuant to the Final DIP Financing Order, on December 31, 2008, the Official

Committee of Unsecured Creditors (the “Committee”) commenced an adversary proceeding by

filing a complaint against CIT to recover (among other things) alleged avoidable transfers. See

Adv. Pro. No. 08-51903(BLS) (the “Committee Adversary Proceeding”).

        13.     On June 30, 2010, the Committee amended the complaint to join Sun Capital

Partners IV, LP, Sun Capital Partners Management IV, LLC, and Sun Capital Partners, Inc.

(collectively, “Sun”) as defendants and to assert claims against such entities.

        14.     On September 15, 2011, the Bankruptcy Court granted in part and denied in part a

motion to dismiss the Committee Adversary Proceeding. See Opinion at Docket No. 40, Adv. Pro.

No. 08-51903(BLS) (the “Dismissal Order”).               After entry of the Dismissal Order, on

October 7, 2011, the Committee filed a second amended complaint against CIT and Sun.

B.      The Settlement Agreement and Bankruptcy Court Approval.

        15.     Subject to Bankruptcy Court approval, the Debtors, the Committee, Sun, and CIT

entered into a Settlement Agreement and Release dated as of June 22, 2012 (the “Settlement

Agreement”).

        16.     On December 4, 2012, over the objection of certain former employees of the

Debtors (the “WARN Plaintiffs”),2 the Bankruptcy Court entered an Order Granting Joint Motion



2
  The WARN Plaintiffs objected to the Settlement Agreement by filing, on July 25, 2012, the Memorandum
of Law in Opposition to the Joint Motion of the Debtors, CIT, Sun Capital, and the Official Committee of
Unsecured Creditors Pursuant to 11 U.S.C. §§ 105(a), 349 and 1112(b) and Fed. R. Bankr. P. 9019 for
Entry of an Order: (I) Approving Settlement Agreement and Releasing Claims; (II) Dismissing the Debtors'
Cases Upon Implementation of Settlement; and (III) Granting Related Relief [Docket No. 1396], and, on
November 7, 2012, the Objection in Opposition to the Supplement to (1) Joint Motion of Debtors, CIT, Sun
Capital, and Official Committee of Unsecured Creditors for Entry of Order (I) Approving Settlement
Agreement and Releasing Claims; (II) Dismissing Debtors' Cases Upon Implementation of Settlement; and
(III) Granting Related Relief; and (2) Debtors' Motion for Entry of Order (A) Authorizing Extension of Use
of Cash Collateral, and (B) Granting Adequate Protection [Docket No. 1479].


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of the Debtors, CIT, Sun Capital and the Official Committee of Unsecured Creditors for Entry of

an Order: (I) Approving Settlement Agreement and Releasing Claims; (II) Dismissing the Debtors’

Cases Upon Implementation of Settlement; and (III) Granting Related Relief (the “Approval

Order”) [Docket No. 1520].

       17.    The Approval Order provided, in part, as follows:

              Within ten (10) business days after the Effective Date . . . of the
              Settlement Agreement (the “Effective Date”), the following shall
              occur simultaneously:

              (a) CIT shall pay to the Debtors $2,000,000 (the “Administrative
              Claim Fund”);

              (b) The Committee, CIT and Sun shall file with the Court a fully
              executed stipulation of dismissal with prejudice, substantially in the
              form of Exhibit 2 to the Settlement Agreement;

              (c) The releases set forth in paragraph 2(c) of the Settlement
              Agreement shall become effective upon payment of the
              Administrative Claim Fund to the Debtors; and

              (d) The Estate Releasing Parties, as such term is defined in the
              Settlement Agreement, shall execute and deliver to CIT releases in
              favor of the other members of the Lender Group, as such term is
              defined in the Settlement Agreement, in the form attached as Exhibit
              3 to the Settlement Agreement, and such releases shall be effective
              upon payment of the Administrative Claim Fund to the Debtors.

See Approval Order, ¶ 4(a)-(d).

       18.    The Approval Order provided for the payment of Estate Professionals and other

holders of allowed administrative claims using the Administrative Claim Fund. See Approval

Order, ¶¶ 8-10.   For example, the Approval Order provided that, “[u]pon payment of the

Administrative Claim Fund to the Debtors, the Debtors shall pay the aggregate sum of $200,000

from the Administrative Claim Fund to the professionals retained by the Committee on account of

previously approved and unpaid fees and expenses.” See Approval Order, ¶ 8.




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       19.     Moreover, Exhibit A to the Certification (defined below) listed certain

administrative tax and 11 U.S.C. § 503(b)(9) claims totaling $328,281.65 to be paid with the

Administrative Claim Fund. Of that total, the Complaint seeks $231,604.73 from the named

defendants.

       20.     As the Administrative Claim Fund was to be used to pay all “unpaid professional

fees, as well as all allowed 503(b)(9) Claims and Admin taxes,” Settlement Motion, ¶ 15, the

balance of the Administrative Claim Fund was to be used only to pay the administrative claims of

professionals (including Defendant) for previously awarded attorneys’ fees and expenses.

       21.     Upon payment in full of the allowed administrative claims, the Debtors and the

Committee were required to file with the Court a certification that administrative claims had been

paid in full. See Approval Order, ¶ 11; Joint Motion for Entry of an Order: (I) Approving

Settlement Agreement and Releasing Claims; (II) Dismissing the Debtors’ Case upon

Implementation of Settlement; and (III) Granted Related Relief (the “Settlement Motion”) [Docket

No. 1346], Exh. C.

C.     Denial of Stay Pending Appeal and Consummation of the Settlement Agreement.

       22.     On December 18, 2012, the WARN Plaintiffs filed an appeal of the Approval Order

to the United States District Court for the District of Delaware (the “District Court”). The WARN

Plaintiffs also sought, in the Bankruptcy Court, a stay of the Approval Order pending resolution

of the appeal. The Bankruptcy Court denied the WARN Plaintiffs’ request for a stay pending

appeal. The WARN Plaintiffs did not request a stay pending appeal from the District Court.

       23.     After the denial of the WARN Plaintiffs’ request for a stay, on or about

August 29, 2013, CIT paid the Administrative Claim Fund to the Debtors’ estates, and the

Administrative Claim Fund was distributed to administrative claimants.




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       24.     The Defendant would not have been paid but for the Administrative Claim Fund

funded by CIT pursuant to the Settlement Agreement because the Debtors had no funds to pay

administrative claims. See Settlement Motion, ¶ 13 (“there are no available assets to pay

outstanding administrative, priority or general unsecured claims at this time”).

       25.     On October 11, 2013, pursuant to paragraph 11 of the Approval Order, the Debtors

and the Committee filed the Certification of Counsel Regarding Satisfaction of Conditions in

Order Approving Joint Motion of the Debtors, CIT, Sun Capital and the Official Committee of

Unsecured Creditors Pursuant to 11 U.S.C. Section 105(a), 349 and 1112(b) and Fed. R. Bankr.

P. 9019 for Entry of an Order: (I) Approving Settlement Agreement and Releasing Claims; (II)

Dismissing the Debtors’ Cases Upon Implementation of Settlement; and (III) Granting Related

Relief (the “Certification”) [Docket No. 1741].

       26.     Some or all of the $1,471,718.35 difference between the $2,000,000 paid to

establish the Administrative Claim Fund and the $528,281.65 specifically identified to be paid

pursuant to the Approval Order and Exhibit A to the Certification was distributed to, inter alia,

Estate Professionals in payment of their previously awarded chapter 11 administrative claims. See

Settlement Motion, ¶ 15 (Administrative Claim Fund was to be used to pay all “unpaid professional

fees, as well as all allowed 503(b)(9) Claims and Admin taxes”).

       27.     The specific amounts of the Administrative Claim Fund distributed to each Estate

Professional were not listed in the Debtors’ monthly operating reports.

       28.     On September 9, 2014, the Bankruptcy Court closed the Debtors’ bankruptcy cases.

D.     Initial Affirmances on Appeal and then Ultimate Vacatur of the Approval Order.

       29.     On appeal, the District Court affirmed the Approval Order. See Czyzewski v. Jevic

Holding Corp. (In re Jevic Holding Corp.), 2014 WL 268613 (D. Del. Jan. 24, 2014).




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       30.     The WARN Plaintiffs appealed to the United States Court of Appeals for the Third

Circuit (the “Third Circuit”), which affirmed the decision of the District Court in 2015. See

Official Comm. of Unsecured Creditors v. CIT Grp./Bus. Credit Inc. (In re Jevic Holding Corp.),

787 F.3d 173 (3d Cir. 2015).

       31.     In 2016, the Supreme Court of the United States (the “Supreme Court”) granted

certiorari to hear the WARN Plaintiffs’ appeal.       See Czyzewski v. Jevic Holding Corp.,

136 S. Ct. 2541 (2016). On March 22, 2017, the Supreme Court issued an opinion (7-2) and order

reversing the Third Circuit’s decision and remanding the case to the Third Circuit for further

proceedings. See Czyzewski v. Jevic Holding Corp., 137 S. Ct. 973, 987 (2017) (“The judgment

of the Court of Appeals is reversed, and the case is remanded for further proceedings consistent

with this opinion.”).

       32.     On May 9, 2017, the Third Circuit vacated its 2015 opinion and remanded the case

to the District Court. See Official Comm. of Unsecured Creditors v. CIT Group/Bus. Credit Inc.

(In re Jevic Holding Corp.), 688 Fed. Appx. 166 (3d Cir. 2017).

       33.     On May 12, 2017, the District Court issued an order vacating the Approval Order

and remanding the case to the Bankruptcy Court for further proceedings.

       34.     On May 17, 2017, the Bankruptcy Court reopened Jevic Holding’s bankruptcy case

and converted it to chapter 7. On October 10, 2018, the Court reopened the remaining Debtors’

bankruptcy cases and converted them to chapter 7.

                                    LEGAL STANDARD

       35.     A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) challenges the

legal sufficiency of the complaint. Bush v. Dep’t of Human Servs., 642 Fed. Appx. 84, 85 (3d Cir.

2016). A court accepts as true the well-pled facts of the complaint and draws all possible




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inferences in the plaintiff’s favor when ruling on a 12(b)(6) motion. Phillips v. Cty. of Allegheny,

515 F.3d 224, 233 (3d. Cir. 2008). A complaint will survive a motion to dismiss if it alleges

enough facts to state a claim for relief that is plausible on its face. Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007). A complaint should not be dismissed under Rule 12(b)(6) “unless it appears

beyond doubt that the plaintiff can prove no set of facts in support of his claim which would entitled

him to relief.” Conley v. Gibson, 355 U.S. 41, 45-46 (1957); see also Frederick Hart & Co. v.

Recordgraph Corp., 169 F.2d 580, 581 (3d Cir. 1948) (“It is also well-settled that . . . [a] complaint

should not be dismissed unless it appears to a certainty that the plaintiff would not be entitled to

relief under any state of facts which could be proved in support of his claim . . . ”).

                                            ARGUMENT

       36.     The Complaint states a claim for relief that is plausible on its face, and, therefore,

the Motion to Dismiss should be denied in its entirety. The Defendant’s arguments are either

incorrect as a matter of law or constitute factual disputes that are not appropriate for resolution by

a motion to dismiss.

A.     In Count II, CIT States a Claim Against Defendant for Restitution.

       37.     For over a century, courts have recognized that parties to a settlement agreement

that has been vacated on appeal should be restored to their original economic position prior to

entering into that settlement agreement. See, e.g., Nw. Fuel Co. v. Brock, 139 U.S. 216, 219 (1891)

(“[T]he power is inherent in every court, while the subject of controversy is in its custody, and the

parties are before it, to undo what it had no authority to do originally, and which it, therefore, acted

erroneously, and to restore, so far as possible, the parties to their former position.”); Nance v.

NYPD, 31 Fed. Appx. 30, 33 (2d Cir. 2002) (“[T]his Court has held that litigants seeking to vacate

settlement agreements must disgorge any monetary benefits gained as a result of the agreement.”);

Leslie v. Conseco Life Ins. Co., 2014 WL 12479931, *2 (S.D. Fla. July 25, 2014) (“If this Court’s


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approval of the Settlement Agreement is reversed, vacated, or modified in any material respect by

any court, the Settlement Agreement will be void, [and] Plaintiffs and Conseco will be restored to

their respective positions as of the date the Settlement Agreement was signed.”) (emphasis added).

       38.     Here, Defendant admits that it received a distribution from the Administrate Claim

Fund, which was funded by CIT, pursuant to the vacated Approval Order, almost thirteen (13)

months after the Settlement Agreement was executed. Def. Mem., ¶¶ 5, 11.

       39.     As discussed further below, the Third Circuit has recognized that ordering the

return or disgorgement of funds is appropriate when an order authorizing distributions under a

confirmed chapter 11 plan is overturned on appeal. See, e.g., In re Tribune Media Co., 799 F.3d

272, 283 (3d Cir. 2015). Addressing the potential vacatur of a portion of a confirmed plan in

Tribune Media, the Third Circuit declared that “[i]t is true that some of the money has been paid

out, but it has gone to a readily identifiable set of creditors against whom disgorgement can be

ordered.” Id. The Third Circuit described the remedy of disgorgement as “conceptually,” the

“most straightforward.” Id.

       40.     Defendant, however, argues that it is a “bona fide payee” and thus, not liable to

return funds, notwithstanding vacatur of the Approval Order. Defendant is wrong.

       41.     Addressing the potential vacatur of a portion of a confirmed plan in Tribune Media,

the Third Circuit, rejecting arguments like those made by Defendant, declared as follows:

               It is true that some of the money has been paid out, but it has gone
               to a readily identifiable set of creditors against whom
               disgorgement can be ordered, and, assuming the Trustees prevail
               on the merits, Class 1F members by definition cannot justifiably
               have relied on the payments. The Class 1F payouts are not “ill-
               gotten,” Charter, 691 F.3d at 484, in the sense that the members of
               that class received them as a result of malfeasance, but the Trustees’
               argument is that the payments were not valid. Although the trade
               creditors and retirees who make up Class 1F are likely not
               sophisticated players and may have understandably relied on any



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              payouts they received, any reliance they have placed on the Plan
              confirmation and implementation—again, assuming the Trustees’
              argument on the merits is correct—is still not legally justifiable
              because Class 1F's claim of entitlement to the money is unlawful
              under the Trustees' interpretation of the relevant contract.

              ...

              The District Court held in a conclusory fashion that “[h]undreds
              of individuals and small-business trade creditors ... were entitled
              to rely upon the finality of the Confirmation Order,” 2014 WL
              2797042 at *6, but that misses the point of equitable mootness and
              elevates finality over all other interests. The Plan has arguably
              deprived one prepetition lender class of $30 million. Requiring
              Class 1F to pay $30 million to Class 1E if the latter prevails on
              appeal would not affect Tribune's value and thus not any of its
              investors (nor would it harm the estate or new Tribune). It would
              be unfortunate from the perspective of the members of Class 1F to
              require disgorgement, but, if they were never entitled to that money
              in the first place, it is not unfair . . . .

Tribune Media, 799 F.3d at 283 (emphasis added).

       42.    Here, too, money has been paid out to “a readily identifiable set of creditors against

whom disgorgement can be ordered.” Id. Specifically, the Administrative Claim Fund was

distributed to an “identifiable set” of administrative claimants—all of which were listed in the

Approval Order (such as the Defendant) or in Exhibit C to the Settlement Motion and Exhibit A

to the Certification (which is Exhibit 4 to the Settlement Agreement). Thus, as in Tribune Media,

which is binding, the Defendant (and the other named defendants) are among an “identifiable set”

of administrative claimants “against whom disgorgement can be ordered.”

       43.    With respect to Defendant, the Settlement Agreement and the Approval Order

expressly provided for (at least) $200,000 of the Administrative Claim Fund to be paid to the

Committee’s professionals. See Settlement Agreement, ¶ 5 and Approval Order, ¶ 8 (both

providing that, “[u]pon payment of the Administrative Claim Fund to the Debtors, the Debtors

shall pay the aggregate sum of $200,000 from the Administrative Claim Fund to the professionals



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retained by the Committee on account of previously approved and unpaid fees and expenses.”).

Moreover, Exhibit C to the Joint Motion (and Exhibit A to the Certification, which is Exhibit 4 to

the Settlement Agreement) listed certain administrative tax and 11 U.S.C. § 503(b)(9) claims

totaling $370,757.35 to be paid with the Administrative Claim Fund.

         44.    Here, too, it may be “unfortunate,” but it is not “unfair,” for the Defendant to return

CIT’s money. None of the Recipients would have been paid but for the Administrative Claim

Fund, paid pursuant to the Settlement Agreement, because the Debtors had no funds to pay their

administrative claims. Settlement Motion, ¶ 13 (“there are no available assets to pay outstanding

administrative, priority or general unsecured claims at this time”) (emphasis added).

The Defendant simply would be restored to its pre-settlement position.

         45.    The Defendant fails to cite, let alone discuss, the Third Circuit’s decision in Tribune

Media.

         46.    Moreover, Tribune Media aside, Defendant is far from a bona fide payee, having

participated heavily in the negotiations of the Settlement Agreement and expressly required

provisions for the payment of its own fees and expenses in the Approval Order and the Settlement

Agreement.

         47.    The United States Bankruptcy Court for the Eastern District of Virginia in In re

Potomac Supply Corporation, 2016 WL 675545 (E.D. Va. Feb. 18, 2016), considered a request

for restitution from attorneys in the bankruptcy context and ultimately ordered disgorgement. Id.

at **1, 12. Potomac Supply Corporation (“Potomac”) filed a voluntary petition under chapter 11.

Pillsbury Winthrop Shaw Pittman, LLP (“Pillsbury”) represented Potomac. During the course of

the bankruptcy case, Potomac sought to sell substantially all of its assets, and as a part of this

effort, Potomac entered into an asset purchase agreement with the Chesapeake Bay Enterprise




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(“CBE”). CBE posted a $500,000 deposit with Pillsbury. Ultimately, Potomac’s assets were sold

to a party other than CBE. CBE demanded the return of its deposit. Pillsbury refused. On

November 30, 2012, the bankruptcy court entered an order to settle superpriority administrative

claims, which provided that the Debtor’s interest in the deposit was assigned to Pillsbury and that

Pillsbury was entitled to recover its fees and expenses in litigation relating to the deposit and an

additional amount of up to $240,000 from the deposit, with the balance to be split among Regions

Bank, unpaid administrative claimants, and (after payment of allowed administrative claims)

unsecured creditors. Id. at *2.

       48.     Potomac’s chapter 11 case was converted to a chapter 7 case. Id. The conversion

order provided that Pillsbury’s rights against CBE with respect to the deposit were placed in a trust

for which Pillsbury would serve as trustee. Id. The trust property was not property of the estate

under the conversion order. Id. On April 9, 2013, the trust filed an adversary proceeding against

CBE. Id.

       49.     The bankruptcy court concluded that “equity does not demand that Pillsbury return

the funds, unless Pillsbury is the real party in interest with respect to the funds” that were on

deposit. Id. at *15 (emphasis in original). That court considered whether Pillsbury was a “real

party in interest” with respect to the funds. Id.

       50.     In Potomac Supply, the court held that Pillsbury was a “real party in interest” and,

therefore, was liable for restitution. Id. at *15. The court reasoned that Pillsbury was “the primary

beneficiary of the” trust as it was entitled to payment of all of its fees in the litigation and to

payment of its fees in the underlying bankruptcy case pursuant to the settlement order, plus up to

an additional $240,000 from the deposited funds. Id. Furthermore, the vacated settlement order

provided the specific amount of distribution that Pillsbury would receive, thereby evidencing its




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interest. Id. Under these circumstances, the bankruptcy court concluded that Pillsbury was the

real party in interest with respect to the deposit and, therefore, ordered Pillsbury to return the

deposit. Id.

        51.     Defendant also argues that CIT is not entitled to restitution because CIT paid the

Administrative Claim Fund to the Debtors knowing that the Approval Order might be vacated

later. Def. Mem., ¶ 10. Defendant, however, accepted funds from the Administrative Claim Fund

with the knowledge that the Approval Order might be vacated later. In such circumstances,

Defendant is required to disgorge or repay the funds to CIT. See Berger v. Dixon & Snow, P.C.,

868 P.2d 1149, 1154 (Colo. App. 1993) (“an attorney who accepts fees with the knowledge that

the award on which those fees depend could be later reversed, vacated, modified or otherwise set

aside, may be ordered to restore the funds”); Bernoskei v. Zarinski, 927 A.2d 149, 154 (N.J. Super.

Ct. App. Div. 2007) (“[I]n Bruns, we permitted direct recovery by judgment against the attorney,

without resort to a constructive trust, where the attorney received fees and taxed costs pursuant to

a court order.”).

        52.     Moreover, there is nothing unfair or inequitable about requiring Defendant to repay

funds to which it was never entitled because the Approval Order was vacated. Defendant will still

have its administrative claim and will be entitled to whatever distribution (if any) the Debtors may

be able to make to administrative claimants. If Defendant is unfairly permitted to retain the funds

that it received under the Approval Order, Defendant’s position will be improved notwithstanding

the lack of any benefit to CIT in exchange for the benefit conferred on Defendant. What is patently

unfair and inequitable is to fail to restore CIT’s funds while forcing it to litigate previously settled

claims and depriving it of the benefit of the release that it should have received in exchange for




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such funds.3 Equity requires that both Defendant and CIT should be restored to their pre-settlement

positions.

        53.     Defendant’s request for dismissal of CIT’s restitution claim fails for another

obvious reason. The issue of unfairness or balancing the equities in deciding a claim for restitution

is an inherently factual issue that is inappropriate for resolution on a motion to dismiss. See

Professional Staff Leasing Corp. v. Unicare Life & Health Ins. Co., 2003 WL 21359621, at *6 (D.

Del. Mar. 31, 2003) (“the Court will not dismiss such a [restitution] claim at this stage due to the

factual considerations involved in the determination to award such relief, including the balancing

of equities”); cf. In re Suboxone (Buprenorphine Hydrochloride & Naloxone) Antitrust Litig.,

64 F. Supp. 3d 665, 706 (E.D. Pa. 2014) (stating, in context of an unjust enrichment claim, that

“fairness” was a factual issue “inappropriate for disposition in a motion to dismiss”).

        54.     For the foregoing reasons, CIT has stated a claim against Defendant for restitution.

B.      In Count I, CIT States a Claim Against Defendant for Declaratory Judgment.

        55.     Defendant erroneously argues that CIT is not entitled to declaratory relief because

CIT “improperly invoked the declaratory judgment statute by simply asking the Court to proclaim

that various different parties are presently liable to it.” Def. Mem., ¶ 28 (emphasis added).

        56.     CIT seeks declaratory relief regarding more than “simply” whether the named

defendants are liable to CIT. Specifically, CIT also seeks declaratory relief regarding: (i) CIT’s


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  Defendant argues that CIT seeks to have the trustee’s adversary proceeding against CIT (Adv. #08-51903)
dismissed and to recover the Administrative Claim Fund. Defendant ignores that if CIT were to prevail in
that adversary proceeding, CIT still would not have received the benefit of the releases it was supposed to
receive upon its funding of the Administrative Claim Fund. If successful, CIT would be defeating the
trustee’s claim due to the trustee’s lack of standing (the trustee cannot “step into the shoes” of the
Committee) or on the merits, not because of any release. Further, CIT (and the Lender Group) have spent
additional funds in that adversary proceeding to brief (and eventually to argue) a motion for judgment on
the pleadings, none of which would have been necessary if CIT had received the benefit of the release. Of
course, even though the trustee’s adversary proceeding against CIT should be dismissed, it has not yet been
dismissed. Dismissal of the trustee’s adversary proceeding against CIT may be a factor in determining the
extent of restitution required by equity.


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right to “recover from the Debtors and their estates the $2,000,000 that CIT paid to the Debtors

because the Approval Order has been vacated,” (ii) the “superiority” of CIT’s rights to recover the

Administrative Claim Fund in relation to “any interest in, or right to, such funds that the Debtors,

their estates, the Chapter 7 Trustee, or any Defendants may have or assert,” and (iii) CIT’s right to

recover from the trustee, the Debtors and their estates, “any amounts disbursed from the

Administrative Claim Fund that the Trustee recovers, whether as a result of litigation, settlement,

or otherwise.” See Complaint, pg. 13.

       57.     First, such relief is not “simply” to adjudicate the chapter 11 administrative

claimants’ liability to restore CIT’s funds (see Def. Mem., ¶ 30). Such relief is important against

the chapter 7 trustee because he has settled at least one claim to recover CIT’s funds disbursed

from the Administrative Claim Fund and is holding such funds pending an order of the Court

determining whether CIT or the trustee has the superior right to such funds. See Order Approving

Settlement Agreement Pursuant to Fed. R. Bankr. P. 9019 [Docket No. 1896]. Declaratory relief

is the most practical way to adjudicate this claim.

       58.     Second, Defendant itself has argued that (a) the chapter 7 trustee alone has standing

to seek to recover the funds disbursed from the Administrative Claim Fund, see Def. Mem., ¶ 51

(asserting that 11 U.S.C. § 549 is the “exclusive” remedy to recover the Administrative Claim

Fund and that CIT lacks standing to assert such claim), and (b) Defendant itself has a right to share

in any recoveries from the Administrative Claim Fund, see Def. Mem., p. 13 n. 36 (“CIT would

have to share in any recoveries with all other administrative claimants (including PSZJ, on

account of its supplemental fee application)”) (emphasis added). Thus, declaratory relief is

appropriate with respect to present and future rights to recoveries of the Administrative Claim

Fund, and, therefore, goes well beyond adjudicating liability of the chapter 11 administrative




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claimants to make restitution. Such relief also is not “solely” to adjudicate past conduct (see Def.

Mem., ¶¶ 30, 47), but rather is to determine CIT’s present and future rights (and the superiority of

such rights as against competing claimants, like Defendant) to funds held by the chapter 7 trustee

and those that may be recovered in this adversary proceeding.

       59.     The Declaratory Judgment Act provides that, “[i]n a case of actual controversy

within its jurisdiction ... any court of the United States ... may declare the rights and other legal

relations of any interested party seeking such declaration, whether or not further relief is or could

be sought.”     MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 126 (2007) (quoting

28 U.S.C. § 2201(a)). “Basically, the question in each case is whether the facts alleged, under all

the circumstances, show that there is a substantial controversy, between parties having adverse

legal interests, of sufficient immediacy and reality to warrant the issuance of a declaratory

judgment.” Id. at 127.

       60.     As Defendant has sought to dismiss all claims against it, arguing that the chapter 7

trustee alone can seek to recover the Administrative Claim Fund and that Defendant has a right to

share in the recovery of the Administrative Claim Fund, Defendant cannot reasonably dispute that

there is a substantial and actual controversy between adverse legal interests concerning whether

CIT is entitled to restitution of the funds and whether CIT has the superior (and only) interest in,

the recovery of the Administrative Claim Fund.

       61.     The Third Circuit has listed eight (8) factors, when relevant, for a court to consider

in exercising its jurisdiction under the Declaratory Judgment Act:

               (1) the likelihood that a federal court declaration will resolve the
               uncertainty of obligation which gave rise to the controversy; (2) the
               convenience of the parties; (3) the public interest in settlement of the
               uncertainty of obligation; (4) the availability and relative
               convenience of other remedies; (5) a general policy of restraint when
               the same issues are pending in a state court; (6) avoidance of



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               duplicative litigation; (7) prevention of the use of the declaratory
               action as a method of procedural fencing or as a means to provide
               another forum in a race for res judicata; and (8) (in the insurance
               context), an inherent conflict of interest between an insurer's duty to
               defend in a state court and its attempt to characterize that suit in
               federal court as falling within the scope of a policy exclusion.

Reifer v. Westport Ins. Corp., 751 F.3d 129, 146 (3d Cir. 2014). Of those factors, the following

three (3) are relevant here: (i) the likelihood that a federal court declaration will resolve the

uncertainty of obligation which gave rise to the controversy; (ii) the convenience of the parties;

and (iii) the availability and relative convenience of other remedies.

       62.     All of those factors weigh in favor of the Court issuing declaratory relief.

Declaratory relief will resolve CIT’s standing to recover the Administrative Claim Fund, the

parties’ alleged rights to share in any such recoveries, and the superiority of CIT’s right to such

recoveries. Declaratory judgment is the most convenient (if not only) means to resolve such

disputes. Moreover, no other remedy is available to address the parties’ conflicting claims to

recover, or share in the recovery of, the Administrative Claim Fund.

       63.     For the foregoing reasons, CIT has stated a claim against Defendant for declaratory

judgment.

C.     Neither Count I nor Count II Constitutes a “Repackaged” Claim Against Defendant
       Under § 549 of the Bankruptcy Code.

       64.     Defendant erroneously argues that CIT’s claims are “nothing more than a

repackaged claim under section 549 of the Bankruptcy Code—a claim CIT lacks standing to

pursue” because only the chapter 7 trustee may avoid a transfer of property of the estate under

section 549 of the Bankruptcy Code. Def. Mem., ¶¶ 35–37. Defendant further argues that, even

if CIT could bring this claim under section 549 of the Bankruptcy Code, it is time-barred. Def.

Mem., ¶¶ 41–43.



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       65.     First, Defendant cites no case law to support its assertion that the Complaint is

actually a disguised section 549 claim. There is no such case law. Section 549 generally deals

with unauthorized transfers––all of the transfers at issue here were done with court authorization

that was later found to be improper.

       66.     Second, Defendant fails to appreciate the effect of vacatur of the Approval Order.

Specifically, “[w]hen courts vacate an order, it restores the parties to the position they were in

prior to the issuance of the vacated order—it is as if the order had never been issued.” See In re

Rodriguez, 2013 WL 1748800, at *6 (Bankr. S.D. Tex. Apr. 23, 2013) (emphasis added); World

Sav. & Loan Ass’n v. Foronda, 1998 WL 483515, at *1 (N.D. Ill. Aug. 10, 1998) (“where a court,

in the discharge of its judicial functions, vacates an order previously entered, the legal status is the

same as if the order had never existed.”). Thus, the Debtors never had any basis to receive or hold

CIT’s funds that created the Administrative Claim Fund. CIT’s funds were never property of the

Debtors’ estates, and, therefore, section 549 is inapplicable on its face to these funds.

       67.     As indicated above, upon vacatur of the Approval Order, CIT was entitled to be

restored to the position it was in prior to execution of the Settlement Agreement and entry of the

Approval Order. See, e.g., Leslie v. Conseco Life Ins. Co., 2014 WL 12479931, at *2 (S.D. Fla.

July 25, 2014) (“If this Court’s approval of the Settlement Agreement is reversed, vacated, or

modified in any material respect by any court, the Settlement Agreement will be void, [and]

Plaintiffs and Conseco will be restored to their respective positions as of the date the Settlement

Agreement was signed.”); Onstott v. Certified Capital Corp., 950 So.2d 744, 748 (La. App. 1st

Cir. 2006) (“Onstott is entitled to be restored to the economic position he was in prior to entering

into the settlement agreement which was vacated by the First Circuit Court of Appeal”).




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        68.     At the time the Settlement Agreement was executed, CIT’s funds were in

possession of the Lender Group, not the Debtors. See Def. Mem., ¶ 7 (Approval Order was entered

on December 4, 2012), ¶ 10 (CIT paid $2 million to the Debtors on or about August 29, 2013).

        69.     Accordingly, upon vacatur, the Administrative Claim Fund was never property of

the Debtors’ estates and, therefore, neither the Debtors nor the chapter 7 trustee has (or ever had)

any claim to recover CIT’s funds under section 549 of the Bankruptcy Code. See 11 U.S.C. § 549;

ETS Payphones, Inc. v. AT&T Universal Card (In re PSA, Inc.), 335 B.R. 580, 584 (Bankr. D. Del.

2005) (“Section 549 provides the Trustee (or debtor in possession) with the authority to avoid a

transfer of property of the estate that is not authorized by the Bankruptcy Court or the Code.”)

(emphasis added).4

        70.     The United States District Court for the Southern District of Texas addressed a

similar issue upon remand after the Fifth Circuit vacated an order approving a settlement in a

bankruptcy case. See Tech. Lending Partners v. San Patricio Cnty. Cmty. Action Agency, 2010

WL 11579814, *2 (S.D. Tex. Sept. 2, 2010). In Technology Lending Partners, a settlement

agreement was consummated and payments from insurance proceeds (which were not property of

the debtor’s estate) were distributed to more than fifty creditors. Id. Upon remand from the Fifth

Circuit, the District Court for the Southern District of Texas set aside the bankruptcy court’s

approval of the settlement agreement and the distributions made thereunder. See id. at *6. In light

of the fact that the insurer funded the settlement in exchange for a release of liability, the district

court declared that “the only practical relief available to Appellants is to require the unwinding of

the entire settlement. All creditors will be required to disgorge the settlement funds that have been


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 Defendants’ argument that section 549 of the Bankruptcy Code is applicable (which it is not) to a non-
debtor’s own claim to recover its own funds would preclude every non-debtor from obtaining restitution
whenever it took more than two years to conclude an appeal process that resulted in vacatur of a settlement
order.


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distributed [to them].” Id. at *6, n. 3. Importantly, the court recognized that the property

distributed under the settlement agreement was not “property of the estate,” because the estate had

“no legally cognizable claim” to the funds. Id. at *3-4.

       71.     For the foregoing reasons, the Court should reject Defendant’s argument that the

Complaint is a “repackaged” claim under section 549 of the Bankruptcy Code.

                                       LEAVE TO AMEND

       72.     To the extent that the Court is inclined to accept any of Defendant’s arguments

(which the Court should not accept), CIT requests that the Court grant leave to amend the

Complaint. Foman v. Davis, 371 U.S. 178, 182 (1962) (“In the absence of any apparent or declared

reason—such as undue delay, bad faith or dilatory motive on the part of the movant, repeated

failure to cure deficiencies by amendments previously allowed, undue prejudice to the opposing

party by virtue of allowance of the amendment, futility of amendment, etc.—the leave sought

should, as the rules require, be ‘freely given.’”); see also Arthur v. Maersk, Inc., 434 F.3d 196, 203

(3d. Cir. 2006) (“Leave to amend must generally be granted unless equitable considerations render

it otherwise unjust.”); Lorenz v. CSX Corp., 1 F.3d 1406, 1414 (3d Cir. 1993).

                                          CONCLUSION

       73.     For all of the foregoing reasons, CIT respectfully requests that the Court enter an

Order (i) denying the Motion to Dismiss in its entirety, (ii) granting CIT leave to amend (to the

extent the Court would otherwise dismiss any of the claims against Defendant), and (iii) granting

such further relief to CIT as is appropriate.




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Dated: May 15, 2020                              Respectfully submitted,
Wilmington, Delaware
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